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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 9REN Holding S.À.R.L.,

                Plaintiff,
                                                       The Hon. Tanya S. Chutkan
        v.                                             Case No. 19-cv-1871

 Kingdom of Spain,

                Defendant.

             NOTICE OF WITHDRAWAL OF RAÚL B. MAÑÓN AS COUNSEL

       PLEASE TAKE NOTICE that, pursuant to LCvR 83.6(b), attorney Raúl B. Mañón of

Squire Patton Boggs (US) LLP hereby withdraws as counsel for Kingdom of Spain in this case.

Williams & Connolly LLP has entered its appearance in this action and will represent Kingdom

of Spain going forward.
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Dated; June 9, 2023               Respectfully Submitted,

                                  SQUIRE PATTON BOGGS (US) LLP

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